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In the District Court of Massachusetts
in the county of Suffolk

Huong Luu

Andrew Metcalf

Vs.

Case No.: 13-13108-GAO
ANSWER, AFFIRMATIVE DEFENSES
Plaintiff

Defendant

 

 

 

I. ANSWER

Defendant(s) answer the complaint as follows:

1.

Admit the statements contained in paragraph numbers 1,
2, 3, 13, 18, 22,

Deny the statements contained in paragraph numbers 4,
5, 6, 7, 8, 10, 11, 12, 14, 15, 16, 17, 21, 24, 26, 28, 29,
31, 32, 33, 35, 36, 37, 38, 40, 41, 42, 43, 45, 47, 49,

Lack knowledge about the truth and therefore deny the
statements contained in paragraphs numbers 9, 19, 20, 23,
25, 27, 30, 34, 39, 44, 46, 48,

[Affirmative Defense] - 1
SummonsResponse.com
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II. AFFIRMATIVE DEFENSES

Defendant(s) other defenses are:
Failure of Consideration

Dated this April 18, 2014

 

 

VAN
Andrew Metcalf

7 May Ave
Avon, MA, 02322
(508) 857-4401

(Affirmative Defense] - 2 summonsResponse . com
